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                      UNITED STATES DISTRICT COURT                       MAR 0 9 2016

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                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

                   Plaintiff,              INDICTMENT
         vs.
                                           Conspiracy to Distribute a
EDRAS LIZANDRO CHUA-LEMUS,                 Controlled Substance; Conspiracy to
a/k/a "Eddy,''                             Commit Money Laundering
BLANCA E. LUNA-SOTO,
CHAD MICHAEL GOTCH,                        21 U.S.C. §§ 841(a)(l) and 846
LARRY DELBERT GOTCH, JR., and              18 U.S.C. §§ 1956(a)(l)(B)(i) and
ROBERT JOSEPH BUDIHAS,                     1956(h)

                   Defendants.



      The Grand Jury charges:

                                   COUNT 1.

      Beginning at a time uncertain and continuing until the date of this

Indictment, in the District of South Dakota and elsewhere, Edras Lizandro

Chua-Lemus, a/k/a "Eddy,'' Blanca E. Luna-Soto, Chad Michael Gotch, Larry

Delbert Gotch, Jr., and Robert Joseph Budihas, did knowingly and intentionally

combine, conspire, confederate, and agree together, with others known and

unknown to the Grand Jury, to knowingly and intentionally distribute 500

grams or more of a mixture and substance containing methamphetamine, a

Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(l) and 846.
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                                   COUNT 2.

      Beginning at a time uncertain and continuing until the date of this

Indictment, in the District of South Dakota and elsewhere, Edras Lizandro

Chua-Lemus, a/k/ a "Eddy," Blanca E. Luna-Soto, and Chad Michael Gotch did

knowingly combine, conspire, confederate, and agree together, with others

known and unknown to the Grand Jury, to knowingly conduct and attempt to

conduct financial transactions affecting interstate commerce and foreign

commerce, which transactions involved the proceeds of specified unlawful

activity, that is, conspiracy to distribute a controlled substance in violation of

21 U.S.C. §§ 841(a)(l) and 846, knowing that the transactions were designed in

whole or in part to conceal and disguise the nature, location, source, ownership,

and control of the proceeds of said specified unlawful activity, and that while

conducting and attempting to conduct such financial transactions, knew that

the property involved in the financial transactions represented the proceeds of

some form of unlawful activity, in violation of 18 U.S.C. §§ 1956(a)(l)(B)(i) and

1956(h).

                         FORFEITURE ALLEGATION

      Upon conviction of either of the offenses alleged in Counts 1 and 2 of this

Indictment, Defendants Edras Lizandro Chua-Lemus, a/k/ a "Eddy," and Blanca

E. Luna-Soto shall forfeit to the United States pursuant to 21 U.S.C. § 853, if

convicted of Count 1, and 18 U.S.C. § 982(a)(l), if convicted of Count 2, any

property constituting, and derived from, any proceeds obtained, directly or

indirectly, as the result of such offense and any property used, and intended to
                                       [2]
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be used, in any manner or part, to commit, and to facilitate the commission of,

the offenses, including, but not limited to, the following:

      1.    MONEY JUDGMENT

      A sum of money representing the amount of proceeds obtained as a result

of the offenses - conspiracy to distribute a controlled substance and conspiracy

to commit money laundering.

      2.    SUBSTITUTE ASSETS

      If any of the above-described forfeitable property, as a result of any act or

omission of the Defendants:

      (a)   cannot be located upon the exercise of due diligence;

      (b)   has been transferred or sold to, or deposited with, a third party;

      (c)   has been placed beyond the jurisdiction of the Court;

      (d)   has been substantially diminished in value; or

      (e)   has been commingled with other property which cannot be divided

            without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek

forfeiture of any other property of said Defendants up to the value of the

forfeitable property described in paragraph 1 above.

                                      A TRUE BILL:
                                                  NAME REDACTED
                                       Foreperson
RANDOLPH J. SEILER
United States Attorney
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